                              UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF NORTH CAROLINA
                                  GREENSBORO DIVISION

EQUAL EMPLOYMENT                             )
OPPORTUNITY COMMISSION,                      )
                                             )
       Plaintiff,                            )
                                             )
JOHN MCGAHA,                                 )
                                             )
                                             )
      Intervenor,                           )
v.                                           )       Case No.: 1:22-cv-00490
                                             )
                                             )
                                             )
AURORA RENOVATIONS AND                       )
DEVELOPMENTS, LLC. d/b/a,                    )
AURORA PRO SERVICES,                         )
                                             )
       Defendant.                            )
                                             /


                INTERVENOR’S COMPLAINT WITH DEMAND FOR JURY TRIAL
       COMES NOW Intervenor, JOHN MCGAHA (“Intervenor” or “McGaha”), and files his

Complaint against Defendant, AURORA RENOVATIONS AND DEVELOPMENTS, LLC d/b/a

AURORA PRO SERVICES, (“Defendant” or “Aurora”) and in support states the following:

                                     NATURE OF THE CLAIMS

       1.      This is an action for monetary damages pursuant to Title VII of the Civil Rights

Act of 1964, 42 U.S.C. § 2000e et seq., as amended (“Title VII”), and Title I of the Civil Rights

Act of 1991, 42 U.S.C. § 1981a, to redress Defendant’s unlawful employment practices against

Intervenor, including Defendant’s unlawful discrimination, and retaliation against Intervenor

because of his religion.

                                    JURISDICTION AND VENUE
       2.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337, 1343
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and 1345. This action is authorized and instituted pursuant to Sections 706(f)(l) and (3) of Title

VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-5(f)(l) and (3), and pursuant

to Section 102 of the Civil Rights Act of 1991, 42 U.S.C. § 1981a.

        3.     The employment practices alleged to be unlawful were committed within the

jurisdiction of the United States District Court for the Middle District of North Carolina.

                                             THE PARTIES

        4.     Intervenor is a citizen of the United States, and was at all times material, a resident

of the state of North Carolina.

        5.     Defendant, a North Carolina corporation, has continuously been doing business in

the State of North Carolina and the City of Greensboro.

        6.     Defendant is an employer as defined by the laws under which this action is brought.

                                  PROCEDURAL REQUIREMENTS

        7.     Intervenor has complied with all statutory prerequisites to filing this action.

        8.     On October 19, 2020, Intervenor filed a claim with the Equal Employment

Opportunity Commission (“EEOC”), against Defendant, satisfying the requirements of 42 U.S.C.

§ 2000e-5(b) and (e), based religion, and retaliation.

        9.     Intervenor’s EEOC charge was filed within one hundred eighty days after the

alleged unlawful employment practices occurred.

        10.    On January 6, 2022, the EEOC notified Defendant of the determination that the

EEOC had reasonable cause to believe that Defendant violated Title VII.

        11.    The Parties engaged in conciliation but were unable to reach an agreement.

        12.    All conditions precedent to the filing of this Intervenor’s Complaint have been

fulfilled.

                                                  FACTS

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       13.     Defendant is a residential service contractor that provides roofing, plumbing,

heating and air conditioning, and electrical services.

       14.     As part of Defendant’s business model, Defendant’s owner conducted daily prayer

meetings.

       15.     During the prayer meetings, employees stood in a circle, while the owner and others

read Bible scripture and Christian devotionals.

       16.     Additionally, the owner and/or one of its agents led employees in Christian prayer

and solicited prayer requests from employees.

       17.     Prayers were sometimes requested and offered for poor performing employees, who

were identified by name.

       18.     The prayer meetings also briefly addressed business matters at the close, but the

meetings were primarily religious in nature.

       19.     Intervenor worked for Defendant as a Construction Manager from June 8, 2020

until September 4, 2020.

       20.     Intervenor is Atheist, which is sincere and religious from his own perspective.

       21.     Atheism is a school of thought that takes a position on religion, the existence and

importance of a supreme being, and a code of ethics.

       22.     During      Intervenor’s   employment,    the   prayer   meetings   initially   lasted

approximately between ten (10) and fifteen (15) minutes.

       23.     During Intervenor’s employment, the prayer meetings increased in length and by

August 2020, the prayer meetings lasted approximately forty-five (45) minutes, sometimes longer.

                                                Count I:
                             Failure to Provide Religious Accommodation in
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                                           Violation of Title VII

        24.     Intervenor re-alleges and adopts, as if fully set forth herein, the allegations stated

in Paragraphs 1-23 above.

        25.     Since at least August 2020, Defendant has engaged in unlawful employment

practices in violation of Section 703(a)(1) of Title VII, 42 U.S.C. 2000e-2(a)(1), by failing or

refusing to reasonably accommodate the religious beliefs of Intervenor.

        26.     Intervenor is Atheist and does not believe in any higher power.

        27.     Intervenor’s beliefs are sincere.

        28.     Defendant’s prayer meetings conflicted with Intervenor’s sincerely held religious

beliefs, Atheism.

        29.     Intervenor initially attended the prayer meetings, but as the meetings grew more

religious in nature and longer in duration, they became less tolerable for Intervenor due to the

religious conflict.

        30.     On one occasion, the owner asked Intervenor to lead the Christian prayer, which he

declined.

        31.     On or about Friday August 28, 2020, Intervenor privately asked the owner to be

excused from attending portions of the daily prayer meetings that pertained to religion because it

conflicted with his personal religious beliefs, Atheism.

        32.     Intervenor’s request for religious accommodation was reasonable.

        33.     However, Defendant denied the request, stating to Intervenor that all employees

were required to participate in the prayer meetings, and that it would be in his “best interest” to do

so.

        34.     Defendant did not offer any other accommodation for Intervenor.

        35.     During the prayer meeting on or about September 4, 2020, Intervenor renewed his

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request for religious accommodation, asking to be excused from the Christian portion of the

meeting.

        36.       The owner, on behalf of Defendant, again denied the request, stating to Intervenor

that he did not have to believe in God, and he did not have to like the prayer meetings, but he had

to participate.

        37.       Intervenor refused to participate in the prayer meeting, and Defendant terminated

his employment.

        38.       The practices complained of above are unlawful and in violation of Title VII.

        39.       The practices complained of above have deprived Intervenor of equal employment

opportunities and otherwise adversely affect his status as employee because of his religion.

        40.       The practices complained of above were willful and intentional.

        41.       The practices complained of above were conducted with malice and with reckless

indifference to Intervenor’s federally protected rights.

                                                Count II:
                             Discriminatory Discharge in Violation of Title VII

        42.       Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations stated in

Paragraphs 1-23 above.

        43.       On or about September 4, 2020, Defendant engaged in unlawful employment

practices in violation of Section 703(a)(1) of Title VII, 42 U.S.C. 2000e-2(a)(1), when it

discharged Intervenor on the basis of religion.

        44.       Intervenor was terminated because of his religion, Atheism, and because of his

failure to conform to Defendant’s religious practices based on Christianity.

        45.       At all times of his employment, Intervenor’s job performance was satisfactory.

        46.       The practices complained of above are unlawful and in violation of Title VII.


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       47.     The practices complained of above have deprived Intervenor of equal employment

opportunities and otherwise adversely affect his status as employee because of his religion.

       48.     The practices complained of above were willful and intentional.

       49.     The practices complained of above were conducted with malice and with reckless

indifference to Intervenor’s federally protected rights.

                                         Count III:
               Hostile Work Environment Based on Religion in Violation of Title VII

       50.     Intervenor re-alleges and adopts, as if fully set forth herein, the allegations stated

in Paragraphs 1-23 above.

       51.     From as early as June 2020, Defendant engaged in unlawful employment practices

in violation of Section 703(a)(1) of Title VII, 42 U.S.C. 2000e-2(a)(1), for subjecting Intervenor

to a hostile work environment constituting harassment on the basis of his religion.

       52.     The requirement that Intervenor attend prayers meetings on a daily basis, created a

hostile work environment, based on religion.

       53.     The hostility experienced by Intervenor was severe and/or pervasive.

       54.     Intervenor recalls that at times the prayer meetings lasted over forty-five (45)

minutes and were primarily religious in content.

       55.     Sometimes specific employees who made mistakes at work were called out in the

prayers.

       56.     Intervenor felt specifically targeted because of his religion (Atheism) when he was

asked to lead the prayers, even though Defendant knew he did not hold Christian beliefs.

       57.     The owner’s reputation around the office was that he was short-tempered and

confrontational, which further exacerbated the hostile religious environment.

       58.     Intervenor attempted to avoid attending the prayer meetings.


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        59.    Intervenor verbally objected to the prayer meetings to the owner.

        60.    The owner responded by threatening Intervenor’s job if he did not participate in the

prayer meetings, stating in the presence of the other employees: “You have to participate. If you

do not participate, that is okay, you don’t have to work here. You are getting paid to be here.”

        61.    Intervenor was fired after he objected to Defendant’s prayer meetings.

        62.    The practices complained of above resulted in a hostile work environment because

of religion.

        63.    The practices complained of above are unlawful and in violation of Title VII.

        64.    The practices complained of above have deprived Intervenor of equal employment

opportunities and otherwise adversely affect his status as employee because of his religion.

        65.    The practices complained of above were willful and intentional.

        66.    The practices complained of above were conducted with malice and with reckless

indifference to Intervenor’s federally protected rights.

                                             Count IV:
                       Retaliatory Reduction of Wages in Violation of Title VII

        67.    Intervenor re-alleges and adopts, as if fully set forth herein, the allegations stated

in Paragraphs 1-23 above.

        68.    On or about September 3, 2020, Defendant engaged in unlawful employment

practices in violation of Section 704(a) of Title VII, 42 U.S.C. 2000e-3(a), by reducing

Intervenor’s wages in retaliation for his opposition to the mandatory prayer meetings.

        69.    On or about August 28, 2020, Intervenor engaged in statutorily protected activity

when he informed the Defendant’s owner that he wished to stop attending the daily prayer

meetings because it conflicted with his religion (Atheism).

        70.    Defendant’s owner responded that it was in Intervenor’s “best interest” to attend


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the prayer meetings.

       71.     On or about September 3, 2020, six days after Intervenor engaged in protected

activity, Intervenor received an email from Defendant with a pay record showing that his base pay

was reduced from $800 per week to $400 per week – a 50% reduction in his base pay.

       72.     Defendant later withheld Intervenor’s commissions following the termination of

his employment.

       73.     Intervenor’s wages were reduced in retaliation for engaging in protected activity --

objecting to attending the prayer meetings.

       74.     The practices complained of above are unlawful and in violation of Title VII.

       75.     The practices complained of above have deprived Intervenor of equal employment

opportunities and otherwise adversely affect his status as an employee because of his religion.

       76.     The practices complained of above were willful and intentional.

       77.     The practices complained of above were conducted with malice and with reckless

indifference to Intervenor’s federally protected rights.

                                                 Count V:
                            Retaliatory Discharge in Violation of Title VII

       78.     Intervenor re-alleges and adopts, as if fully set forth herein, the allegations stated

in Paragraphs 1-23 above.

       79.     On or about September 4, 2020 Defendant engaged in unlawful employment

practices in violation of Section 704(a) of Title VII, 42 U.S.C. 2000e-3(a) by discharging

Intervenor in retaliation for his opposition to the mandatory prayer meetings, which is protected

activity under Title VII.

       80.     On or about August 28, 2020, Intervenor engaged in statutorily protected activity

when he voiced his opposition to the mandatory, prayer meetings to Defendant’s owner and


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requested that he not be required to attend.

       81.     Six days after Intervenor met with the owner privately and immediately after

Intervenor objected to attending the daily prayer meetings on September 4, 2020, Defendant

terminated Intervenor’s employment.

       82.     The practices complained of above are unlawful and in violation of Title VII.

       83.     The practices complained of above have deprived Intervenor of equal employment

opportunities and otherwise adversely affect his status as employee because he engaged in a

protected activity under Title VII.

       84.     The practices complained of above were willful and intentional.

       85.     The practices complained of above were conducted with malice and with reckless

indifference to Intervenor’s federally protected rights.


                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, requests this Honorable Court:


       a)      Enter judgment requiring Defendant to pay back wages and back benefits found to

be due and owing at the time of trial, front-pay, compensatory damages, including emotional

distress damages, in an amount to be proved at trial, punitive damages, liquidated damages, and

prejudgment interest thereon;

       b)      Grant Plaintiff his costs and an award of reasonable attorneys’ fees (including

expert fees); and

       c)      Award any other and further relief as this Court deems just and proper.


                                         JURY DEMAND

       Plaintiff hereby requests a trial by jury on all triable issues herein.


                                               Respectfully Submitted:
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